The right of the People to bring writs of error in criminal cases depends upon chapter 82 of the Laws of 1852. That act provides that writs of error to review any judgment, rendered in favor of any defendant upon any indictment for any criminal offence, except where such defendant shall have been acquitted by a jury, may be brought on behalf of the People, and that the Court of Appeals shall have full power to review, by writ of error on behalf of the People, any such judgment rendered in the Supreme Court in favor of any defendant charged with a criminal offence.
It is only judgments for the defendant upon an indictment to which the terms of the statute extend. No such judgment has yet been rendered in this case. In the general sessions judgment was stayed; in the Supreme Court a new trial was ordered, but no judgment on the indictment was given for the defendant in either Court. The case is plainly not provided for by the statute, the language of which is clear and precise. Technical words are employed which accurately exclude such cases as the present. The motion to dismiss must be granted.
Writ of error dismissed.